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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                               )
ex rel. ERIC S. SCHMITT, in his official             )
capacity as Missouri Attorney General,               )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )      Case No. 1:20-cv-00099-SNLJ
                                                     )
THE PEOPLE’S REPUBLIC OF CHINA,                      )
THE COMMUNIST PARTY OF CHINA,                        )
NATIONAL HEALTH COMMISSION                           )
OF THE PEOPLE’S REPUBLIC OF                          )
CHINA, MINISTRY OF EMERGENCY                         )
MANAGEMENT OF THE PEOPLE’S                           )
REPUBLIC OF CHINA, MINISTRY OF                       )
CIVIL AFFAIRS OF THE PEOPLE’S                        )
REPUBLIC OF CHINA, PEOPLE’S                          )
GOVERNMENT OF HUBEI                                  )
PROVINCE, PEOPLE’S GOVERNMENT                        )
OF WUHAN CITY, WUHAN INSTITUTE                       )
OF VIROLOGY, and CHINESE                             )
ACADEMY OF SCIENCES,                                 )
                                                     )
       Defendants.                                   )

 PLAINTIFF’S MOTION TO AUTHORIZE ALTERNATIVE METHODS OF SERVICE
     UNDER 28 U.S.C. § 1608 AND FEDERAL RULE OF CIVIL PROCEDURE 4

       Plaintiff State of Missouri ex rel. Missouri Attorney General Eric S. Schmitt (“Missouri”)

respectfully moves this Court to authorize alternative methods of service under Rule 4(f)(3) of the

Federal Rules of Civil Procedure for defendants Communist Party of China, Wuhan Institute of

Virology, and Chinese Academy of Sciences, and for service of the six governmental defendants

via diplomatic channels under 28 U.S.C. § 1608(a)(4). On August 7, 2020, Missouri attempted to

serve summonses and copies of the complaint on all Defendants by submitting them through its

professional international process server to China’s central authority under the Hague Convention.



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China has now refused to effect service, objecting under Article 13 of the Hague Convention.

Because service through ordinary Hague channels has proven futile, Missouri requests authority

under 28 U.S.C. § 1608(a)(4) and Rule 4(f)(3) to serve all defendants through the alternative

channels authorized by law.

                                  FACTUAL BACKGROUND

        This case was filed on April 21, 2020. Doc. 1. The Complaint alleges claims against the

People’s Republic of China, five other Chinese governmental defendants, the Chinese Communist

Party, and two other Chinese entities for their role in unleashing the COVID-19 pandemic on

Missouri and the rest of the world. Id. According to recent reports, the pandemic has caused over

2.5 million deaths worldwide, including over 500,000 deaths in the United States and over 8,000

deaths in Missouri. The economic costs of the pandemic are also staggering. “The International

Monetary Fund has estimated that the global cost of the pandemic is $28 trillion. A paper published

in The Journal of the American Medical Association, put the total cost in the U.S. at more than

$16 trillion, or nearly $200,000 for a family of four.”1

        All Defendants are located in China, and many Defendants are Chinese governmental

entities.   Doc. 1.   Accordingly, after filing the Complaint, Plaintiff pursued service of all

Defendants pursuant to 28 U.S.C. § 1608 and the Hague Convention on the Service Abroad of

Judicial and Extrajudicial Documents in Civil and Criminal Matters. See 28 U.S.C. § 1608;

Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial

Matters       (Nov.      15,      1965)       (hereinafter,    “Hague       Convention”),        at

https://www.hcch.net/en/instruments/conventions/full-text/?cid=17. See also Doc. 1-3.



1
  Dave Seminara, We Cannot Allow China to Engage in a COVID Coverup (Feb. 23, 2021), at
https://www.realclearpolitics.com/articles/2021/02/23/we_cannot_allow_china_to_engage_in_a_
covid_coverup_145284.html.
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       For defendants that are foreign governments or their political subdivisions, where a

“special arrangement for service” does not exist, 28 U.S.C. § 1608(a)(2) provides that “service in

the courts of the United States … shall be made upon a foreign state or political subdivision of a

foreign state … by delivery of a copy of the summons and complaint in accordance with an

applicable international convention on service of judicial documents.” 28 U.S.C. § 1608(a)(2).

Likewise, for non-governmental defendants located overseas, Federal Rule of Civil Procedure

4(f)(1) provides that “an individual … not within any judicial district of the United States” may be

served “by any internationally agreed means of service that is reasonably calculated to give notice,

such as those authorized by the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents.” Fed. R. Civ. P. 4(f)(1). Thus, service through China’s central authority

under the Hague Convention was the appropriate first channel to attempt service of process.

       Accordingly, after filing the Complaint, Missouri initiated the process of seeking to effect

service on all Defendants as authorized under the Hague Convention. Missouri conducted a

competitive selection process to procure the services of a professional outside vendor with

expertise in investigation, translation, and service of documents abroad, including in China. As a

result of this process, Missouri retained the services of a professional international process server

for the investigation, translation, and service of process. On Missouri’s behalf, that process server

conducted an investigation to verify official service addresses for all Defendants. Because the

investigation identified possible alternative service addresses for two Defendants, Missouri

requested eleven summonses for the nine defendants, using both alternative addresses for those

two Defendants out of an abundance of caution. On July 17, 2020, this Court issued those eleven

summonses at Missouri’s request. See Docs. 4-14. The international process server prepared

certified translations into simplified Chinese of all relevant documents, including the summonses,



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Complaint, and civil cover sheet. Consistent with the Hague Convention and the instructions of

China’s central authority during the Covid-19 pandemic, Missouri’s process server notified

Missouri that it had submitted the completed service packets electronically to China’s central

authority for service of process on all Defendants on August 7, 2020.

       On February 1, 2021, China’s central authority posted a notice online that it objected to

service of Missouri’s lawsuit on any of the defendants under Article 13 of the Hague Convention.

Missouri received notice of this rejection from its process server on February 11, 2021. Article 13

of the Hague Convention provides that a signatory nation may object to service if the objecting

nation believes that the act of service would violate its sovereignty: “Where a request for service

complies with the terms of the present Convention, the State addressed may refuse to comply

therewith only if it deems that compliance would infringe its sovereignty or security.” Hague

Convention, art. 13. Article 13 states that the objecting nation “may not refuse to comply solely

on the ground that, under its internal law, it claims exclusive jurisdiction over the subject-matter

of the action or that its internal law would not permit the action upon which the application is

based.” Id.

       The Article 13 objection of China’s central authority demonstrates that Missouri’s good-

faith attempt to effect service pursuant to ordinary Hague Convention channels is futile.

Accordingly, the law of the United States authorizes Missouri to pursue alternative methods to

perfect service. See, e.g., Zhang v. Baidu.com, 932 F. Supp. 2d 561, 563 (S.D.N.Y. 2013) (“Baidu

I”) (authorizing a motion for alternative methods of service after China objected under Article 13

of the Hague Convention); Zhang v. Baidu.com, 293 F.R.D. 508, 510 (S.D.N.Y. 2013) (“Baidu

II”) (granting the motion for alternative methods of service after China objected to service under




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Article 13 of the Hague Convention). Specifically, Missouri requests that this Court authorize

alternative methods of service under Rule 4(f)(3) and 28 U.S.C. § 1608(a)(4).

                                           ANALYSIS

   I.      The Court Should Authorize Service by Email on the Non-Governmental
           Defendants Under Rule 4(f)(3) of the Federal Rules of Civil Procedure.

        Rule 4(h)(2) of the Federal Rules of Civil Procedure addresses the service of non-

governmental entities located abroad, and it provides that a “foreign corporation, or a partnership

or other unincorporated association … must be served: (2) at a place not within any judicial district

of the United States, in any manner prescribed by Rule 4(f) for serving an individual, except

personal delivery under Rule (f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2). Rule 4(f) governs the service

of defendants who are not located “within any judicial district of the United States.” Fed. R. Civ.

P. 4(f). Rule 4(f) authorizes three coequal, alternative methods of service on non-governmental

entities located abroad. Rule 4(f)(1) permits service “by any internationally agreed means of

service that is reasonably calculated to give notice, such as those authorized by the Hague

Convention on the Service Abroad of Judicial and Extrajudicial Documents.” Fed. R. Civ. P.

4(f)(1). And Rule 4(f)(3) authorizes service “by other means not prohibited by international

agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3).

        Here, Missouri timely sought to effect service under Rule 4(f)(1). About six months after

Missouri submitted its documents for service, Missouri received notice that China’s central

authority had objected to service under Article 13 of the Hague Convention. Notwithstanding

China’s Article 13 objection, this Court may still authorize an alternative method of service under




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Rule 4(f)(3), because China’s objection under Article 13 does not foreclose alternative methods of

service under Rule 4(f)(3).2

       The Southern District of New York has addressed this precise issue. In Baidu II, that court

held as a matter of first impression that “alternative service [under Rule 4(f)(3)] is an option where,

as here, a foreign country declined to effect service under Article 13 of the Hague Convention.”

Baidu II, 293 F.R.D. at 510. Just as in this case, Baidu II involved a lawsuit against both

governmental and non-governmental defendants in China—the People’s Republic of China, and

the Chinese search engine Baidu.com. Id. As here, Plaintiffs attempted to effect service under the

Hague Convention, but China’s designated central authority objected under Article 13 of the

Convention. Id. Notwithstanding China’s Article 13 objection, the court held that it retained

discretion to authorize alternative methods of service on the non-governmental defendant under

Rule 4(f)(3), which “provides that service on a foreign litigant can be effected ‘by other means not

prohibited by international agreement, as the court orders.’” Id. (quoting Fed. R. Civ. P. 4(f)(3)).

       In so holding, the court reasoned that Rule 4(f)(3) “stands independently, on equal footing

with Rule 4(f)(1),” and that “numerous courts have authorized alternative service under Rule

4(f)(3) even where the Hague Convention applies.” Id. (citations omitted) (citing cases). The



       2
         Notably, the Hague Convention also authorizes alternative methods of service where, as
here, service through ordinary Hague Convention channels proves fruitless. Article 15 of the
Convention provides that “[e]ach Contracting State shall be free to declare that the judge … may
give judgment even if no certificate of service or delivery has been received if … a period of time
of not less than six months, considered adequate by the judge in the particular case, has elapsed
since the date of the transmission of the document.” Hague Convention, art. 15. The Advisory
Committee’s Notes to the 1993 Amendments to Rule 4 state: “The Hague Convention does not
specify a time within which a foreign country’s Central Authority must effect service, but Article
15 does provide that alternate methods may be used if a Central Authority does not respond within
six months.” Fed. R. Civ. P. 4(f)(3), Advisory Committee Notes to 1993 Amendments. “[T]here
have been occasions when the signatory state was dilatory or refused to cooperate for substantive
reasons. In such cases, resort may be had to the provision set forth in subdivision (f)(3).” Id.

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court noted that “it follows equally from these principles that alternative service under Rule 4(f)(3)

is an option even where service pursuant to Rule 4(f)(1) fails because the receiving state invokes

Article 13 of the Convention.” Id. at 512. “By its terms, Rule 4(f)(3) requires only that service be

authorized by a court and ‘not prohibited by international agreement.’ So long as those conditions

are met, it should not, and does not, matter whether service was attempted pursuant to Rule 4(f)(1)

or (2) and, if so, whether or why such service was unsuccessful.” Id. (quoting Fed. R. Civ. P.

4(f)(3)). Thus, the court concluded that authorizing an alternative method of service was consistent

with the plain language of Rule 4(f)(3).

       The court also rejected the argument that authorizing an alternative method of service under

Rule 4(f)(3) after China objected under Article 13 would violate the letter or spirit of the Hague

Convention. See id. at 512-13. Quoting the plain language of Article 13, the court noted that “[b]y

invoking Article 13, therefore, a receiving state merely declares that ‘compliance’ with a ‘request

for service’ pursuant to the Convention ‘would infringe its sovereignty or security.’” Id. at 513

(quoting Hague Convention art. 13). A country’s objection under Article 13, therefore, “is not a

declaration that the lawsuit itself violates its sovereignty or security.” Id. (emphasis added). Thus,

“authorizing service within the United States pursuant to Rule 4(f)(3) in a manner that does not

call upon China to effect service does not override its invocation of its own sovereignty and

security; to the contrary, it honors that invocation.” Id.

       Moreover, the argument that “Article 13 refusal precludes alternative service” is based on

an erroneous understanding of the Hague Convention, which was not intended to be “the exclusive

means of service on a foreign defendant,” but rather “a set of procedures, exclusive or not, for

serving a defendant by transmitting judicial documents abroad.”            Id.   Quoting the Hague

Convention’s preamble, the court observed that “[t]he purpose of the Hague Convention is ‘to



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create appropriate means to ensure that judicial and extrajudicial documents to be served abroad

shall be brought to the notice of the addressee in sufficient time.’” Id. (quoting Burda media, Inc.

v. Viertel, 417 F.3d 292, 300 (2d Cir. 2005) (quoting Hague Convention, pmbl.). As the U.S.

Supreme Court has stated, “[t]he only transmittal to which the Convention applies is a transmittal

abroad that is required as a necessary part of service.”            Id. (quoting Volkswagenwerk

Aktiengesellschaft v. Schlunk, 486 U.S. 694, 707 (1988)). “The Convention has ‘no further

implications,’ therefore, ‘where service on a domestic agent is valid and complete under both state

law and the Due Process Clause.’” Id. (quoting Volkswagenwerk, 486 U.S. at 707).

       For all these reasons, Baidu II held that a federal district court “has discretion to authorize

alternative service … pursuant to Rule 4(f)(3) notwithstanding China’s refusal to effect service

under the Hague Convention on the ground that doing so would infringe its sovereignty and

security.” Id. at 514. For the reasons stated in that opinion, this conclusion was well-reasoned and

correct. It is consistent with the plain language of Rule 4(f), the plain language of the Hague

Convention, and the history and purposes of the Convention. Like Baidu II, this Court should

conclude that it has discretion to authorize alternative methods of service on non-governmental

defendants in this case under Rule 4(f)(3) of the Federal Rules of Civil Procedure, notwithstanding

China’s Article 13 objection to service under ordinary Hague Convention channels.

       Once a court decides to authorize an alternative method of service under Rule 4(f)(3), “[t]he

only remaining question is what method of alternative service would be appropriate.” Baidu II,

293 F.R.D. at 514. “A method of alternate service is acceptable if it (1) is not prohibited by

international agreement; and (2) comports with constitutional notions of due process.” Id.

(quotation omitted). “For a method of service to satisfy due process requires ‘notice reasonably

calculated, under all the circumstances, to apprise interested parties of the pendency of the action



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and afford them an opportunity to present their objections.’” Id. (quoting Luessenhop v. Clinton

County, New York, 466 F.3d 259, 269 (2d Cir. 2006)). “A district court is afforded wide discretion

in ordering service of process under Rule 4(f)(3).” Id.

       Here, Missouri requests authority to serve the non-government defendants Communist

Party of China, Chinese Academy of Sciences, and Wuhan Institute for Virology by the simple

expedient of emailing them copies of the translated service packets—which include summons,

Complaint, and civil cover sheet—to publicly available email addresses for those defendants.

Email addresses are publicly available for all three defendants, and are posted on websites

maintained by those organizations. Service by email is preferable to service of hard-copy

documents through international delivery, because China has objected to service by postal

channels under Article 10 of the Hague Convention, and some courts have held that such an Article

10 objection forecloses service by international postal or commercial-carrier delivery as an

alternative to service through the nation’s central authority. See Hague Convention, art. 10. By

contrast, a substantial body of well-reasoned authority holds that an objection to service by postal

channels under Article 10 does not foreclose service by email as an alternative method of service

under Rule 4(f)(3).3 Moreover, service by email to email addresses publicly associated with the



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  See, e.g., Fourte Int’l Ltd. BVI v. Pin Shine Indus. Co., Case No. 18-cv-00297-BAS-BGS, 2019
WL 246562, at *2 (S.D. Cal. Jan. 17, 2019) (finding that China’s Article 10 objection does not
include email and allowing email service under Federal Rule of Civil Procedure 4(f) because it is
not “prohibited by international agreement”); WeWork Cos. Inc. v. WePlus (Shanghai) Tech. Co.,
Case No. 5:18-CV-04543-EJD, 2019 WL 8810350, at *2 (N.D. Cal. Jan. 10, 2019) (“Given the
weight of authority [in the Northern District of California], the court finds that China’s objection
to Article 10 regarding postal service does not mean that email service is ‘prohibited by
international agreement’ under Federal Rule 4(f).”); Bazarian Int'l Fin. Assocs., L.L.C. v.
Desarrollos Aerohotelco, C.A., 168 F. Supp. 3d 1, 17 (D.D.C. 2016) (“[A] country’s objection to
Article 10 does not constitute an express rejection of service by email.”); Sulzer Mixpac AG v.
Medenstar Indus. Co., 312 F.R.D. 329, 332 (S.D.N.Y. 2015) (holding that China’s Article 10
objection “does not cover service by email”); WhosHere, Inc. v. Orun, Civil Action No. 1:13-cv-
00526-AJT-TRJ, 2014 WL 670817, at *3 (E.D. Va. Feb. 20, 2014) (permitting email service
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defendants—here, identified on their own websites—is more effective in giving actual notice than

alternative methods such as service by publication in Chinese media.

       Service by email will also readily satisfy any concerns about providing actual notice under

the Due Process Clause. As noted above, “[s]ervice pursuant to Rule 4(f)(3) must comply with

constitutional notions of due process and constitute “notice reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” U.S. S.E.C. v. Shehyn, No. 04 CIV. 2003 (LAP), 2008

WL 6150322, at *3 (S.D.N.Y. Nov. 26, 2008) (quoting Mullane v. Cent. Hanover Bank & Trust

Co., 339 U.S. 306, 314 (1950)). “One factor in considering whether due process is satisfied is

whether a defendant served by alternative means possesses some knowledge of the pending lawsuit

against her.” Id. Service by email to email addresses that defendants hold out to the public on

their websites as methods of contacting them is “reasonably calculated … to apprise [defendants]

of the pendency of the action and afford them an opportunity to present their objections.” Mullane,

339 U.S. at 314.

       For these reasons, the Court should authorize Missouri to serve the non-governmental

defendants—Communist Party of China, Wuhan Institute of Virology, and Chinese Academy of

Sciences—by email under Rule 4(f)(3) of the Federal Rules of Civil Procedure.




because an Article 10 objection “is specifically limited to enumerated means of service in Article
10,” and email is “not explicitly listed as means of service under Article 10”); SEC v. China Sky
One Med., Inc., Case No. 12-CV-07543 MWF (MANx), 2013 WL 12314508, at *2–3 (C.D. Cal.
Aug. 20, 2013) (“The better argument is that e-mail is sufficiently distinct from postal channels
that the two should not be equated under the Hague Convention. Therefore, China’s objection to
the means of service specified in Article 10 does not prevent service by e-mail.”). See also FKA
Distrib. Co. v. Yisi Tech. Co., Case No. 17-CV-10226, 2017 WL 4129538, at *1 (E.D. Mich. Sept.
19, 2017) (noting that “several courts have held that the Hague Convention allows service by
email”).
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   II.      The Court Should Authorize Service on the Governmental Defendants Through
            Diplomatic Channels Under 28 U.S.C. § 1608(a)(4).

         Service on foreign states and their political subdivisions is governed by statute, 28 U.S.C.

§ 1608. Here, the remaining six Defendants—People’s Republic of China, National Health

Commission of the People’s Republic of China, Ministry of Emergency Management of the

People’s Republic of China, Ministry of Civil Affairs of the People’s Republic of China, People’s

Government of Hubei Province, and People’s Government of Wuhan City—are a foreign state and

some of its political subdivisions.

         Section 1608(a) provides that “[s]ervice in the courts of the United States and of the States

shall be made upon a foreign state or political subdivision of a foreign state” according to four

processes, arranged hierarchically. 28 U.S.C. § 1608(a)(1)-(4). Unlike Rule 4(f)(1)-(3), a plaintiff

must pursue the four processes provided in Section 1608(a)(1)-(4) in the order they are listed, to

the extent that they are available. See id.

         First, Section 1608(a)(1) requires a plaintiff to pursue service “in accordance with any

special arrangement for service between the plaintiff and the foreign state or political subdivision.”

28 U.S.C. § 1608(a)(1). No such “special arrangement” exists, so Section 1608(a)(1) is not

applicable here.

         Second, Section 1608(a)(2) provides that “if no special arrangement exists,” service shall

be made “by delivery of a copy of the summons and complaint in accordance with an applicable

international convention on service of judicial documents”—i.e., the Hague Convention. 28

U.S.C. § 1608(a)(2). Missouri has already attempted service under the Hague Convention, and it

has proven futile for the reasons discussed above.

         Third, Section 1608(a)(3) provides that “if service cannot be made under paragraphs (1) or

(2),” service shall be made “by sending a copy of the summons and complaint and a notice of suit,

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together with a translation of each into the official language of the foreign state, by any form of

mail requiring a signed receipt, to be addressed and dispatched by the clerk of the court to the head

of the ministry of foreign affairs of the foreign state concerned.” 28 U.S.C. § 1608(a)(3). Here,

service cannot be made under Section 1608(a)(3), because China has objected to service through

postal channels under Article 10 of the Hague Convention, and service under Section 1608(a)(3)

entails the use of postal channels. Thus, the U.S. Department of State advises: “If a foreign state

which is a party to the Hague Service Convention formally objected to service by mail when it

acceded to the Convention, service under Section 1608(a)(3) should not be attempted, and the

plaintiff should proceed to service under Section 1608(a)(4).” U.S. Department of State – Bureau

of Consular Affairs, International Judicial Assistance, Service of Process, Foreign Sovereign

Immunities         Act,        at       https://travel.state.gov/content/travel/en/legal/travel-legal-

considerations/internl-judicial-asst/Service-of-Process/Foreign-Sovereign-Immunities-Act.html

(visited March 3, 2021) (emphasis added). Accordingly, “service under Section 1608(a)(3) should

not be attempted” here, and Missouri “should proceed to service under Section 1608(a)(4).” Id.

       Fourth and finally, Section 1608(a)(4) provides that “if service cannot be made within 30

days under paragraph (3),” service shall be made:

       by sending two copies of the summons and complaint and a notice of suit, together with a
       translation of each into the official language of the foreign state, by any form of mail
       requiring a signed receipt, to be addressed and dispatched by the clerk of the court to the
       Secretary of State in Washington, District of Columbia, to the attention of the Director of
       Special Consular Services—and the Secretary shall transmit one copy of the papers through
       diplomatic channels to the foreign state and shall send to the clerk of the court a certified
       copy of the diplomatic note indicating when the papers were transmitted.

28 U.S.C. § 1608(a)(4).

       Here, Missouri’s international process server has already prepared translations of the

summonses and complaint into simplified Chinese, and it is preparing the requisite notices of suit.



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The State Department advises that “[t]he summons, complaint and notice of suit must be submitted

to the U.S. Department of State, CA/OCS/L, SA-17, 10th Floor, Washington, DC 20522-1710 in

duplicate. Requesting courts or plaintiff’s counsel should establish in writing to the Department

that service has been attempted pursuant to 1608(a)(l), (2) and (3). If service is attempted pursuant

to Section 1608(a)(2), by applicable international convention, and service is denied by a foreign

central authority for the convention, a copy of the denial should be furnished.” U.S. Department

of State – Bureau of Consular Affairs, International Judicial Assistance, supra. Missouri is also

preparing the requisite cover letter advising the State Department that service has been attempted

under Paragraphs (a)(1)-(3) to the extent available. Thus, Missouri requests an order from this

Court directing the Clerk of the Court to coordinate with Missouri’s counsel and its international

process server to receive Missouri’s service packet and submit it to the State Department for

service through diplomatic channels on the six governmental Defendants, as provided in 28 U.S.C.

§ 1608(a)(4).

                                         CONCLUSION

       For the reasons stated, Plaintiff State of Missouri ex rel. Attorney General Eric Schmitt

respectfully requests that this Court issue an order (1) authorizing Missouri, pursuant to Federal

Rule of Civil Procedure 4(f)(3), to serve Defendants the Communist Party of China, the Wuhan

Institute of Virology, and the Chinese Academy of Sciences by providing translations into

simplified Chinese of the Complaint and Summons by email at publicly available email addresses

provided by those organizations; and (2) directing the Clerk of the Court to coordinate with

Missouri’s counsel and international process server to receive and submit Missouri’s service

packet to the U.S. Department of State for service through diplomatic channels on the other six




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Defendants pursuant to 28 U.S.C. § 1608(a)(4); and (3) to grant such other and further relief that

the Court deems just and proper.


Dated: March 8, 2021                         Respectfully submitted,

                                             ERIC S. SCHMITT
                                             ATTORNEY GENERAL

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